Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 1 of 40 PageID #: 548




                             EXHIBIT 2
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 2 of 40 PageID #: 549




     Payoneer, Inc.                                                                           Invoice Date:              05/16/2018
     Bart H. Rubin                                                                         Invoice Number:                 1738678
     150 West 30th Street, Suite 600                                                        Client Number:                    46610
     New York, NY 10001                                                                       Client File #:



     For professional services and disbursements through April 30, 2018:




     Summary by Matter

                                                                                                 Trust/ Retainer
Matter                                                                                              Unallocated
Number        Matter Name                                            Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              13,375.50              0.00             0.00                  13,375.50
                         Totals (payable in USD $) $                13,375.50    $         0.00 $           0.00         $        13,375.50




     TZW
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                               Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                    Bank of America                Bank of America
                                           Fish & Richardson P.C.               100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                        Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295                Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                   ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                       Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
   Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 3 of 40 PageID #: 550


Payoneer, Inc.                                                            Invoice Date:              05/16/2018
                                                                       Invoice Number:                 1738678
                                                                        Client Number:                    46610
                                                                         Matter Number                 0001LL1




Matter Name:                   Finnavations v. Payoneer
Matter No:                     46610.0001LL1




Professional Services

Date             Initials     Description                                                                Hours
04/04/18         NJM          Draft case management plan                                                    1.2
04/04/18         MBV          Draft                                                                         1.2
04/04/18         EMP          Review stipulation for answer extension and update database and               0.1
                              client extranet re same
04/05/18         EMP          Review order granting answer extension and update database re                 0.1
                              same
04/06/18         EMP          Review new case documents (i.e. patent, complaint, plaintiff's                0.6
                              corporate disclosure statement, patent office report, summons, order
                              assigning Judge Andrews, etc.) and update database re same
04/10/18         MBV          Email client                                                                  0.3
04/10/18         DBC          Analyze                                                                       1.2

04/11/18         EMP          Review court's default standard for discovery and update database re          0.3
                              same
04/14/18         NJM          Conference with team re                                                       1.1
04/15/18         MBV          Email client                                                                  0.2
04/28/18         MBV          Draft answer and 101 motion to dismiss                                        3.4
04/29/18         NJM          Draft Payoneer's Section 101 Motion to Dismiss                                2.1
04/29/18         MBV          Draft answer and 101 motion to dismiss                                        8.4
04/30/18         DBC          Edit draft motion to dismiss under Section 101                                2.7

                               Total:                                                                      22.9




Timekeeper Summary

Initials   Name                                                      Hours        Rate ($)           Amount ($)
NJM        Neil J. McNabnay                                              4.4        895.00             3,938.00
DBC        David B. Conrad                                               3.9        845.00             3,295.50


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   Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 4 of 40 PageID #: 551


Payoneer, Inc.                                                        Invoice Date:          05/16/2018
                                                                   Invoice Number:             1738678
                                                                    Client Number:                46610
                                                                     Matter Number             0001LL1



Initials   Name                                                   Hours       Rate ($)       Amount ($)
MBV        Michael Vincent                                             13.5    435.00          5,872.50
EMP        Elizabeth Poppell                                            1.1    245.00            269.50
                               Total:                                  22.9                   13,375.50

                               Professional Services For This Matter                     $    13,375.50

                               Total Due On Matter 46610.0001LL1                         $    13,375.50




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   Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 5 of 40 PageID #: 552




Payoneer, Inc.                                                                    Invoice Date:           05/16/2018
Bart H. Rubin                                                                  Invoice Number:              1738678
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through April 30, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 13,375.50




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




TZW
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information              Checks                          Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX           Standard delivery               Bank of America                 Bank of America
                                     Fish & Richardson P.C.          100 Federal Street              100 Federal Street
 Telephone 612-335-5070              P.O. Box 3295                   Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                    Boston, MA 02241-3295           Account No. 511-43170           Account No. 511-43170
NOTE:                                Overnight delivery              ABA No. 026009593               ABA No. 011000138
                                     3200 RBC Plaza                  Swift Code: BOFAUS3N
                                     60 South Sixth Street
                                     Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 6 of 40 PageID #: 553




     Payoneer, Inc.                                                                          Invoice Date:              06/18/2018
     Bart H. Rubin                                                                        Invoice Number:                 1746565
     150 West 30th Street, Suite 600                                                       Client Number:                    46610
     New York, NY 10001                                                                      Client File #:



     For professional services and disbursements through May 31, 2018:




     Summary by Matter

                                                                                                Trust/ Retainer
Matter                                                                                             Unallocated
Number        Matter Name                                           Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              8,884.00             25.00             0.00                   8,909.00
                         Totals (payable in USD $) $                8,884.00    $        25.00 $           0.00         $         8,909.00




     TZW
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                              Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                   Bank of America                Bank of America
                                           Fish & Richardson P.C.              100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                       Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295               Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                  ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                      Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
   Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 7 of 40 PageID #: 554


Payoneer, Inc.                                                           Invoice Date:             06/18/2018
                                                                      Invoice Number:                1746565
                                                                       Client Number:                   46610
                                                                        Matter Number                0001LL1




Matter Name:                 Finnavations v. Payoneer
Matter No:                   46610.0001LL1




Professional Services

Date             Initials   Description                                                                Hours
05/05/18         NJM        Conference with team                                                          0.6
05/06/18         NJM        Draft Section 101 Motion to Dismiss                                           1.3
05/06/18         MBV        Draft 101 Motion to Dismiss                                                   1.1
05/08/18         NJM        Draft Section 101 Motion to Dismiss                                           1.1
05/08/18         MBV        Send client                                                                   0.1

05/10/18         MBV        Revise                                                                        0.6

05/12/18         RJB        Analyze                                                                       0.3

05/16/18         NJM        Finalize Section 101 Motion to Dismiss and Answer                             0.9
05/16/18         MBV        Prepare answer, corporate disclosure statement, and motion to                 2.2
                            dismiss for filing
05/16/18         EMP        Review motion to dismiss, answer/counterclaims and corporate                  0.2
                            disclosure statement and update database and client extranet re same
05/16/18         DBC        Finalize motion to dismiss under Section 101, answer and                      1.2
                            counterclaim
05/16/18         JDA        Review and revise motion to dismiss, brief in support of motion to            2.4
                            dismiss, proposed order, answer and counterclaims, corporate
                            disclosure statement and pro hac vice motions
05/17/18         EMP        Review motion for pro hac vice and update database and client                 0.3
                            extranet re same
05/18/18         EMP        Review order granting pro hac vice and update database and client             0.1
                            extranet re same
05/19/18         NJM        Conference with team re                                                       0.3
05/21/18         EMP        Review case file, document database and client extranet site for              0.1
                            accuracy and update as required
05/23/18         EMP        Review order for attorneys to be added to electronic noticing and             0.1
                            update database and client extranet re same

                             Total:                                                                      12.9


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   Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 8 of 40 PageID #: 555


Payoneer, Inc.                                                          Invoice Date:         06/18/2018
                                                                     Invoice Number:            1746565
                                                                      Client Number:               46610
                                                                       Matter Number            0001LL1




Timekeeper Summary

Initials   Name                                                   Hours        Rate ($)       Amount ($)
NJM        Neil J. McNabnay                                             4.2     895.00          3,759.00
JDA        Jeremy Anderson                                              2.4     815.00          1,956.00
DBC        David B. Conrad                                              1.2     845.00          1,014.00
RJB        Ricardo Bonilla                                              0.3     730.00            219.00
MBV        Michael Vincent                                              4.0     435.00          1,740.00
EMP        Elizabeth Poppell                                            0.8     245.00            196.00
                               Total:                                  12.9                     8,884.00



Disbursements

Description                                                                                   Amount ($)
5/2/2018 - Courts/usdc-De - Pro Hac fee for Michael Vincent                                        25.00
                               Total:                                                              25.00


                               Professional Services For This Matter                      $     8,884.00

                               Total Disbursements For This Matter                                 25.00

                               Total Due On Matter 46610.0001LL1                          $     8,909.00




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Payoneer, Inc.                                                                    Invoice Date:           06/18/2018
Bart H. Rubin                                                                  Invoice Number:              1746565
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through May 31, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 8,909.00




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




TZW
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information             Checks                           Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX          Standard delivery                Bank of America                 Bank of America
                                    Fish & Richardson P.C.           100 Federal Street              100 Federal Street
 Telephone 612-335-5070             P.O. Box 3295                    Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                   Boston, MA 02241-3295            Account No. 511-43170           Account No. 511-43170
NOTE:                               Overnight delivery               ABA No. 026009593               ABA No. 011000138
                                    3200 RBC Plaza                   Swift Code: BOFAUS3N
                                    60 South Sixth Street
                                    Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 10 of 40 PageID #: 557




     Payoneer, Inc.                                                                           Invoice Date:              07/23/2018
     Bart H. Rubin                                                                         Invoice Number:                 1755270
     150 West 30th Street, Suite 600                                                        Client Number:                    46610
     New York, NY 10001                                                                       Client File #:



     For professional services and disbursements through June 30, 2018:




     Summary by Matter

                                                                                                 Trust/ Retainer
Matter                                                                                              Unallocated
Number        Matter Name                                            Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              10,354.00              0.00             0.00                  10,354.00
                         Totals (payable in USD $) $                10,354.00    $         0.00 $           0.00         $        10,354.00




     TWW
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                               Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                    Bank of America                Bank of America
                                           Fish & Richardson P.C.               100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                        Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295                Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                   ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                       Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 11 of 40 PageID #: 558


Payoneer, Inc.                                                            Invoice Date:            07/23/2018
                                                                       Invoice Number:               1755270
                                                                        Client Number:                  46610
                                                                         Matter Number               0001LL1




Matter Name:                 Finnavations v. Payoneer
Matter No:                   46610.0001LL1




Professional Services

Date             Initials   Description                                                                Hours
06/01/18         NJM        Conference with team re                                                       0.4
                                                           review Court's order
06/01/18         JDA        Confer with opposing counsel re extension to file motion to dismiss           0.3
                            and response to counterclaim
06/01/18         MBV        Update client                                                                 0.1

06/04/18         EMP        Review joint stip for extension of time for plaintiff to respond to           0.3
                            motion to dismiss and answer counterclaims and order granting
                            same and motion for pro hac vice for J. Johnson and update
                            database and client extranet re same
06/05/18         NJM        Review Finnavations' filing with the Court re its failure to respond          0.9
                            to motion to dismiss; review Finnavations' answer to Payoneer's
                            counterclaims
06/05/18         JDA        Review status report from plaintiffs re answering brief to motion to          0.4
                            dismiss; review answer to counterclaims
06/05/18         EMP        Review order granting extension of time to respond to motion to               0.2
                            dismiss and answer counterclaims and update database and client
                            extranet re same
06/07/18         EMP        Review status report and plaintiff's answer to counterclaims and              0.2
                            update database and client extranet re same
06/09/18         NJM        Conference with team re                                                       1.2
06/16/18         NJM        Conference with team re                                                       1.1
06/20/18         JDA        Review opposition to motion to dismiss and exhibits                           1.2
06/21/18         NJM        Review Finnavations' response to Payoneer's motion to dismiss                 0.7
06/21/18         EMP        Review plaintiff's response-opposition to motion to dismiss and               0.2
                            update database and client extranet re same
06/21/18         DBC        Analyze                                                                       1.1
06/22/18         MBV        Draft reply brief in support of motion to dismiss                             1.7
06/23/18         NJM        Conference with team re                                                       0.9
06/25/18         MBV        Draft Reply in support of motion to dismiss                                   4.0
06/27/18         MBV        Draft Reply in support of motion to dismiss                                   1.1


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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 12 of 40 PageID #: 559


Payoneer, Inc.                                                        Invoice Date:          07/23/2018
                                                                   Invoice Number:             1755270
                                                                    Client Number:                46610
                                                                     Matter Number             0001LL1




                               Total:                                                              16.0




Timekeeper Summary

Initials   Name                                                   Hours       Rate ($)       Amount ($)
NJM        Neil J. McNabnay                                             5.2    895.00          4,654.00
JDA        Jeremy Anderson                                              1.9    815.00          1,548.50
DBC        David B. Conrad                                              1.1    845.00            929.50
MBV        Michael Vincent                                              6.9    435.00          3,001.50
EMP        Elizabeth Poppell                                            0.9    245.00            220.50
                               Total:                                  16.0                   10,354.00

                               Professional Services For This Matter                     $    10,354.00

                               Total Due On Matter 46610.0001LL1                         $    10,354.00




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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 13 of 40 PageID #: 560




Payoneer, Inc.                                                                    Invoice Date:           07/23/2018
Bart H. Rubin                                                                  Invoice Number:              1755270
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through June 30, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 10,354.00




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




TWW
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information              Checks                          Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX           Standard delivery               Bank of America                 Bank of America
                                     Fish & Richardson P.C.          100 Federal Street              100 Federal Street
 Telephone 612-335-5070              P.O. Box 3295                   Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                    Boston, MA 02241-3295           Account No. 511-43170           Account No. 511-43170
NOTE:                                Overnight delivery              ABA No. 026009593               ABA No. 011000138
                                     3200 RBC Plaza                  Swift Code: BOFAUS3N
                                     60 South Sixth Street
                                     Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 14 of 40 PageID #: 561




     Payoneer, Inc.                                                                           Invoice Date:              08/15/2018
     Bart H. Rubin                                                                         Invoice Number:                 1761400
     150 West 30th Street, Suite 600                                                        Client Number:                    46610
     New York, NY 10001                                                                       Client File #:



     For professional services and disbursements through July 31, 2018:




     Summary by Matter

                                                                                                 Trust/ Retainer
Matter                                                                                              Unallocated
Number        Matter Name                                            Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              11,830.50              0.00             0.00                  11,830.50
                         Totals (payable in USD $) $                11,830.50    $         0.00 $           0.00         $        11,830.50




     SCK
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                               Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                    Bank of America                Bank of America
                                           Fish & Richardson P.C.               100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                        Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295                Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                   ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                       Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 15 of 40 PageID #: 562


Payoneer, Inc.                                                               Invoice Date:             08/15/2018
                                                                          Invoice Number:                1761400
                                                                           Client Number:                   46610
                                                                            Matter Number                0001LL1




Matter Name:                    Finnavations v. Payoneer
Matter No:                      46610.0001LL1




Professional Services

Date             Initials      Description                                                                 Hours
07/03/18         MBV           Draft reply in support of motion to dismiss                                    5.1
07/04/18         MBV           Work on reply in support of motion to dismiss                                  3.6
07/05/18         NJM           Draft Payoneer's Section 101 Motion to Dismiss reply brief                     1.3
07/05/18         RJB           Work on draft of reply in support of motion to dismiss                         2.1
07/05/18         MBV           Revise reply in support of motion to dismiss                                   3.2
07/06/18         NJM           Draft Section 101 Motion to Dismiss Reply Brief                                0.7
07/06/18         MBV           Revise reply in support of motion to dismiss                                   0.4
07/06/18         DBC           Edit draft reply brief in support of motion to dismiss                         0.7
07/07/18         NJM           Conference with team re                                                        1.2
07/09/18         EMP           Review reply to motion to dismiss and update database and client               0.1
                               extranet re same
07/09/18         JDA           Review and revise reply brief in support of motion to dismiss                  1.8

                                Total:                                                                       20.2




Timekeeper Summary

Initials   Name                                                         Hours           Rate ($)       Amount ($)
NJM        Neil J. McNabnay                                                  3.2         895.00          2,864.00
JDA        Jeremy Anderson                                                   1.8         815.00          1,467.00
DBC        David B. Conrad                                                   0.7         845.00            591.50
RJB        Ricardo Bonilla                                                   2.1         730.00          1,533.00
MBV        Michael Vincent                                                12.3           435.00          5,350.50
EMP        Elizabeth Poppell                                                 0.1         245.00             24.50
                                Total:                                    20.2                          11,830.50

                                Professional Services For This Matter                              $    11,830.50


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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 16 of 40 PageID #: 563


Payoneer, Inc.                                                Invoice Date:       08/15/2018
                                                           Invoice Number:          1761400
                                                            Client Number:             46610
                                                             Matter Number          0001LL1




                       Total Due On Matter 46610.0001LL1                      $    11,830.50




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Payoneer, Inc.                                                                    Invoice Date:           08/15/2018
Bart H. Rubin                                                                  Invoice Number:              1761400
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through July 31, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 11,830.50




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




SCK
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information              Checks                          Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX           Standard delivery               Bank of America                 Bank of America
                                     Fish & Richardson P.C.          100 Federal Street              100 Federal Street
 Telephone 612-335-5070              P.O. Box 3295                   Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                    Boston, MA 02241-3295           Account No. 511-43170           Account No. 511-43170
NOTE:                                Overnight delivery              ABA No. 026009593               ABA No. 011000138
                                     3200 RBC Plaza                  Swift Code: BOFAUS3N
                                     60 South Sixth Street
                                     Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 18 of 40 PageID #: 565




     Payoneer, Inc.                                                                          Invoice Date:              09/20/2018
     Bart H. Rubin                                                                        Invoice Number:                 1769978
     150 West 30th Street, Suite 600                                                       Client Number:                    46610
     New York, NY 10001                                                                      Client File #:



     For professional services and disbursements through August 31, 2018:




     Summary by Matter

                                                                                                Trust/ Retainer
Matter                                                                                             Unallocated
Number        Matter Name                                           Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                                73.00               0.00             0.00                      73.00
                         Totals (payable in USD $) $                  73.00     $         0.00 $           0.00         $            73.00




     SCK
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                              Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                   Bank of America                Bank of America
                                           Fish & Richardson P.C.              100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                       Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295               Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                  ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                      Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 19 of 40 PageID #: 566


Payoneer, Inc.                                                       Invoice Date:         09/20/2018
                                                                  Invoice Number:            1769978
                                                                   Client Number:               46610
                                                                    Matter Number            0001LL1




Matter Name:                  Finnavations v. Payoneer
Matter No:                    46610.0001LL1




Professional Services

Date             Initials    Description                                                       Hours
08/27/18         RJB         Analyze                                                              0.1


                              Total:                                                              0.1




Timekeeper Summary

Initials   Name                                                  Hours      Rate ($)       Amount ($)
RJB        Ricardo Bonilla                                            0.1    730.00             73.00
                              Total:                                  0.1                       73.00

                              Professional Services For This Matter                    $        73.00

                              Total Due On Matter 46610.0001LL1                        $        73.00




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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 20 of 40 PageID #: 567




Payoneer, Inc.                                                                    Invoice Date:           09/20/2018
Bart H. Rubin                                                                  Invoice Number:              1769978
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through August 31, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 73.00




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




SCK
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information            Checks                            Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX         Standard delivery                 Bank of America                 Bank of America
                                   Fish & Richardson P.C.            100 Federal Street              100 Federal Street
 Telephone 612-335-5070            P.O. Box 3295                     Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                  Boston, MA 02241-3295             Account No. 511-43170           Account No. 511-43170
NOTE:                              Overnight delivery                ABA No. 026009593               ABA No. 011000138
                                   3200 RBC Plaza                    Swift Code: BOFAUS3N
                                   60 South Sixth Street
                                   Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 21 of 40 PageID #: 568




     Payoneer, Inc.                                                                          Invoice Date:              10/16/2018
     Bart H. Rubin                                                                        Invoice Number:                 1778233
     150 West 30th Street, Suite 600                                                       Client Number:                    46610
     New York, NY 10001                                                                      Client File #:



     For professional services and disbursements through September 30, 2018:




     Summary by Matter

                                                                                                Trust/ Retainer
Matter                                                                                             Unallocated
Number        Matter Name                                           Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                                73.00               0.00             0.00                      73.00
                         Totals (payable in USD $) $                  73.00     $         0.00 $           0.00         $            73.00




     SED
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                              Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                   Bank of America                Bank of America
                                           Fish & Richardson P.C.              100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                       Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295               Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                  ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                      Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 22 of 40 PageID #: 569


Payoneer, Inc.                                                       Invoice Date:         10/16/2018
                                                                  Invoice Number:            1778233
                                                                   Client Number:               46610
                                                                    Matter Number            0001LL1




Matter Name:                  Finnavations v. Payoneer
Matter No:                    46610.0001LL1




Professional Services

Date             Initials    Description                                                       Hours
09/10/18         RJB         Analyze                                                              0.1

                              Total:                                                              0.1




Timekeeper Summary

Initials   Name                                                  Hours      Rate ($)       Amount ($)
RJB        Ricardo Bonilla                                            0.1    730.00             73.00
                              Total:                                  0.1                       73.00

                              Professional Services For This Matter                    $        73.00

                              Total Due On Matter 46610.0001LL1                        $        73.00




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Payoneer, Inc.                                                                    Invoice Date:           10/16/2018
Bart H. Rubin                                                                  Invoice Number:              1778233
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through September 30, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 73.00




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




SED
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information            Checks                            Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX         Standard delivery                 Bank of America                 Bank of America
                                   Fish & Richardson P.C.            100 Federal Street              100 Federal Street
 Telephone 612-335-5070            P.O. Box 3295                     Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                  Boston, MA 02241-3295             Account No. 511-43170           Account No. 511-43170
NOTE:                              Overnight delivery                ABA No. 026009593               ABA No. 011000138
                                   3200 RBC Plaza                    Swift Code: BOFAUS3N
                                   60 South Sixth Street
                                   Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 24 of 40 PageID #: 571




     Payoneer, Inc.                                                                           Invoice Date:              11/20/2018
     Bart H. Rubin                                                                         Invoice Number:                 1787937
     150 West 30th Street, Suite 600                                                        Client Number:                    46610
     New York, NY 10001                                                                       Client File #:



     For professional services and disbursements through October 31, 2018:




     Summary by Matter

                                                                                                 Trust/ Retainer
Matter                                                                                              Unallocated
Number        Matter Name                                            Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              37,286.00            728.49             0.00                  38,014.49
                         Totals (payable in USD $) $                37,286.00    $       728.49 $           0.00         $        38,014.49




     CGD
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                               Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                    Bank of America                Bank of America
                                           Fish & Richardson P.C.               100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                        Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295                Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                   ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                       Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 25 of 40 PageID #: 572


Payoneer, Inc.                                                            Invoice Date:           11/20/2018
                                                                       Invoice Number:              1787937
                                                                        Client Number:                 46610
                                                                         Matter Number              0001LL1




Matter Name:                 Finnavations v. Payoneer
Matter No:                   46610.0001LL1




Professional Services

Date             Initials   Description                                                               Hours
10/04/18         NJM        Conference with Court re scheduling of Section 101 Motion to                 0.6
                            Dismiss hearing
10/04/18         JDA        Confer with Court and team re scheduling of oral argument on                 0.3
                            motion to dismiss
10/05/18         JDA        Confer with RJBonilla                                                        0.2
10/06/18         NJM        Conference with team                                                         1.1
10/08/18         JDA        Confer with opposing counsel and other defendants re scheduling of           0.3
                            motion to dismiss
10/09/18         NJM        Review Court's order re timing of Section 101 Motion to Dismiss              0.3
                            hearing
10/09/18         EMP        Review order setting hearing on motion to dismiss and update                 0.1
                            database and client extranet re same
10/09/18         JDA        Confer with Court re scheduling of oral argument on motion to                0.2
                            dismiss
10/12/18         EMP        Finish review of motion to dismiss hearing and update database re            0.1
                            same
10/17/18         RJB        Analyze asserted patent and briefing re motion to dismiss in                 2.4
                            preparation for upcoming motion hearing
10/18/18         MBV        Prepare for hearing on motion to dismiss; coordinate with co-                4.5
                            defendant
10/19/18         RJB        Work on preparations in support of upcoming hearing re motion to             1.5
                            dismiss
10/19/18         MBV        Prepare for hearing on motion to dismiss                                     7.8
10/19/18         DBC        Analyze patent-in-suit and briefing on motion to dismiss; meet with          2.7
                            team re preparations for oral argument on motion to dismiss
10/20/18         NJM        Conference with team re                                                      0.7
10/20/18         RJB        Work on pending action items                                                 0.1
10/21/18         MBV        Prepare for hearing on motion to dismiss; coordinate with co-                2.6
                            defendant
10/22/18         RJB        Work on slides in preparation for hearing re section 101 motion to           0.4
                            dismiss


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Payoneer, Inc.                                                                Invoice Date:            11/20/2018
                                                                           Invoice Number:               1787937
                                                                            Client Number:                  46610
                                                                             Matter Number               0001LL1



Date             Initials      Description                                                                 Hours
10/22/18         MBV           Prepare for hearing on motion to dismiss; coordinate with co-                  8.8
                               defendant
10/23/18         RJB           Prepare for hearing re section 101 motion to dismiss in Wilmington,            5.2
                               Delaware
10/23/18         JDA           Confer with RJBonilla and MBVincent                                            0.5
10/23/18         MBV           Prepare for hearing on motion to dismiss; coordinate with co-                 12.4
                               defendant
10/24/18         NJM           Review Court's minute entry re the Section 101 hearing                         0.3
10/24/18         RJB           Prepare for and attend hearing re section 101 motion to dismiss in             5.5
                               Wilmington, Delaware; confer with joint defense counsel re
10/24/18         MBV           Prepare for hearing on motion to dismiss; argue motion to dismiss at           8.3
                               hearing
10/24/18         EMP           Review minute entry from court re oral argument held today and                 0.1
                               update database and client extranet re same
10/25/18         MBV           Draft summary of hearing                                                       0.1
10/26/18         NJM           Review new prosecution history excerpts submitted by Finnavations              0.6
                               in connection with Payoneer's Section 101 Motion to Dismiss
10/26/18         EMP           Review plaintiff's letter to Judge Andrews re file history and update          0.1
                               database and client extranet re same
10/26/18         JDA           Review letter from Plaintiff to court re file history                          0.1

                                Total:                                                                       67.9




Timekeeper Summary

Initials   Name                                                          Hours         Rate ($)        Amount ($)
NJM        Neil J. McNabnay                                                  3.6        895.00           3,222.00
JDA        Jeremy Anderson                                                   1.6        815.00           1,304.00
DBC        David B. Conrad                                                   2.7        845.00           2,281.50
RJB        Ricardo Bonilla                                                 15.1         730.00          11,023.00
MBV        Michael Vincent                                                 44.5         435.00          19,357.50
EMP        Elizabeth Poppell                                                 0.4        245.00              98.00
                                Total:                                     67.9                         37,286.00




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Payoneer, Inc.                                                           Invoice Date:       11/20/2018
                                                                      Invoice Number:          1787937
                                                                       Client Number:             46610
                                                                        Matter Number          0001LL1




Disbursements

Description                                                                                  Amount ($)
Travel expenses for trip by Michael Vincent 10/23/18 - 10/24/18 to Wilmington, DE re             728.49
Payoneer Hearing
                               Total:                                                            728.49


                               Professional Services For This Matter                     $    37,286.00

                               Total Disbursements For This Matter                               728.49

                               Total Due On Matter 46610.0001LL1                         $    38,014.49




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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 28 of 40 PageID #: 575




Payoneer, Inc.                                                                    Invoice Date:           11/20/2018
Bart H. Rubin                                                                  Invoice Number:              1787937
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through October 31, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 38,014.49




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




CGD
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information              Checks                          Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX           Standard delivery               Bank of America                 Bank of America
                                     Fish & Richardson P.C.          100 Federal Street              100 Federal Street
 Telephone 612-335-5070              P.O. Box 3295                   Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                    Boston, MA 02241-3295           Account No. 511-43170           Account No. 511-43170
NOTE:                                Overnight delivery              ABA No. 026009593               ABA No. 011000138
                                     3200 RBC Plaza                  Swift Code: BOFAUS3N
                                     60 South Sixth Street
                                     Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 29 of 40 PageID #: 576




     Payoneer, Inc.                                                                          Invoice Date:              12/12/2018
     Bart H. Rubin                                                                        Invoice Number:                 1792512
     150 West 30th Street, Suite 600                                                       Client Number:                    46610
     New York, NY 10001                                                                      Client File #:



     For professional services and disbursements through November 30, 2018:




     Summary by Matter

                                                                                                Trust/ Retainer
Matter                                                                                             Unallocated
Number        Matter Name                                           Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              4,446.50          1,276.62             0.00                   5,723.12
                         Totals (payable in USD $) $                4,446.50    $     1,276.62 $           0.00         $         5,723.12




     SCK
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                              Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                   Bank of America                Bank of America
                                           Fish & Richardson P.C.              100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                       Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295               Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                  ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                      Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 30 of 40 PageID #: 577


Payoneer, Inc.                                                             Invoice Date:             12/12/2018
                                                                        Invoice Number:                1792512
                                                                         Client Number:                   46610
                                                                          Matter Number                0001LL1




Matter Name:                   Finnavations v. Payoneer
Matter No:                     46610.0001LL1




Professional Services

Date             Initials     Description                                                                Hours
11/14/18         EMP          Review notice of transcript from 10/24 hearing and update database            0.1
                              and client extranet re same
11/17/18         NJM          Conference with team re                                                       0.9
11/19/18         EMP          Review case file, document database and client extranet site for              0.2
                              accuracy and update as required
11/26/18         NJM          Review Court's order granting Section 101 Motion to Dismiss                   1.2
11/26/18         MBV          Analyze                                                                       0.3
11/26/18         EMP          Review memorandum opinion and order granting motion to dismiss                0.2
                              and order granting same and update database and client extranet re
                              same
11/26/18         JDA          Review Court order granting motion to dismiss                                 0.9
11/26/18         DBC          Review and analyze                                                            0.3
                                  and confer with team
11/28/18         RJB          Prepare for and confer with client re                                         0.4

11/28/18         NJM          Conference with                                                               0.4

11/28/18         MBV          Speak with client                        ; speak with co-defendant's          1.5
                              counsel; respond to client
11/28/18         EMP          Review patent office report re dismissal and update database and              0.1
                              client extranet re same

                               Total:                                                                       6.5




Timekeeper Summary

Initials   Name                                                       Hours        Rate ($)          Amount ($)
NJM        Neil J. McNabnay                                              2.5        895.00             2,237.50



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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 31 of 40 PageID #: 578


Payoneer, Inc.                                                            Invoice Date:          12/12/2018
                                                                       Invoice Number:             1792512
                                                                        Client Number:                46610
                                                                         Matter Number             0001LL1



Initials    Name                                                     Hours        Rate ($)       Amount ($)
JDA         Jeremy Anderson                                              0.9       815.00            733.50
DBC         David B. Conrad                                              0.3       845.00            253.50
RJB         Ricardo Bonilla                                              0.4       730.00            292.00
MBV         Michael Vincent                                              1.8       435.00            783.00
EMP         Elizabeth Poppell                                            0.6       245.00            147.00
                                 Total:                                  6.5                       4,446.50



Disbursements

Description                                                                                      Amount ($)
Search and retrieval of court documents (dockets & pleadings)                                         26.50
Court reporter for hearing transcript(s)                                                             168.80
Travel expenses for trip by Ricardo Bonilla 10/23/18 - 10/24/18 to Delaware re Hearing             1,081.32
on Motion to Dismiss
                                 Total:                                                            1,276.62


                                 Professional Services For This Matter                       $     4,446.50

                                 Total Disbursements For This Matter                               1,276.62

                                 Total Due On Matter 46610.0001LL1                           $     5,723.12




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Payoneer, Inc.                                                                    Invoice Date:           12/12/2018
Bart H. Rubin                                                                  Invoice Number:              1792512
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through November 30, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 5,723.12




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




SCK
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 Remittance Information             Checks                           Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX          Standard delivery                Bank of America                 Bank of America
                                    Fish & Richardson P.C.           100 Federal Street              100 Federal Street
 Telephone 612-335-5070             P.O. Box 3295                    Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                   Boston, MA 02241-3295            Account No. 511-43170           Account No. 511-43170
NOTE:                               Overnight delivery               ABA No. 026009593               ABA No. 011000138
                                    3200 RBC Plaza                   Swift Code: BOFAUS3N
                                    60 South Sixth Street
                                    Minneapolis, MN 55402
          Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 33 of 40 PageID #: 580




     Payoneer, Inc.                                                                           Invoice Date:              01/22/2019
     Bart H. Rubin                                                                         Invoice Number:                 1801132
     150 West 30th Street, Suite 600                                                        Client Number:                    46610
     New York, NY 10001                                                                       Client File #:



     For professional services and disbursements through December 31, 2018:




     Summary by Matter

                                                                                                 Trust/ Retainer
Matter                                                                                              Unallocated
Number        Matter Name                                            Fees ($)          Disb. ($)              ($)                  Total ($)
0001LL1       Finnavations v. Payoneer                              21,570.00             38.50             0.00                  21,608.50
                         Totals (payable in USD $) $                21,570.00    $        38.50 $           0.00         $        21,608.50




     SCK
          The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
               insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.


      Remittance Information               Checks                               Wire Transfers                 ACH Transfers

      Federal ID No. XX-XXXXXXX            Standard delivery                    Bank of America                Bank of America
                                           Fish & Richardson P.C.               100 Federal Street             100 Federal Street
      Telephone 612-335-5070               P.O. Box 3295                        Boston, MA 02110               Boston, MA 02110
      Fax 612-288-9696                     Boston, MA 02241-3295                Account No. 511-43170          Account No. 511-43170
                                           Overnight delivery                   ABA No. 026009593              ABA No. 011000138
                                           3200 RBC Plaza                       Swift Code: BOFAUS3N
     NOTE:                                 60 South Sixth Street
                                           Minneapolis, MN 55402
  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 34 of 40 PageID #: 581


Payoneer, Inc.                                                            Invoice Date:           01/22/2019
                                                                       Invoice Number:              1801132
                                                                        Client Number:                 46610
                                                                        Matter Number:              0001LL1




Matter Name:                 Finnavations v. Payoneer
Matter No:                   46610.0001LL1




Professional Services

Date             Initials   Description                                                               Hours
12/03/18         NJM        Conference with Payoneer re                                                  0.9

12/03/18         RJB        Work on issues and outline re                                                0.5
12/03/18         MBV        Contact client                   ; confer with co-defendant on               0.8

12/04/18         NJM        Conference with Finnavations re Payoneer's Motion for Attorneys'             0.4
                            Fees
12/04/18         EMP        Start gathering exhibits for motion for fees                                 0.1
12/04/18         MBV        Draft motion for fees; contact opposing counsel for a meet and               6.7
                            confer
12/04/18         JDA        Confer with opposing counsel re fees motion                                  0.2
12/05/18         NJM        Draft Motion for Attorneys' Fees                                             1.8
12/05/18         RJB        Work on draft of motion for exceptional case under section 285               2.2
12/05/18         EMP        Work on pulling exhibits re motion for fees                                  0.7
12/05/18         MBV        Draft motion for fees                                                        6.8
12/06/18         RJB        Work on draft of section 285 motion                                          1.5
12/06/18         EMP        Work on gathering and organizing exhibits re motion for fees filing          0.7
12/06/18         MBV        Draft motion for fees; draft declaration for motion; contact client          2.3
                            with motion for review
12/06/18         PCA        Online research re                                                           0.4

12/07/18         JDA        Confer with opposing counsel re section 285 motion                           0.3
12/07/18         NJM        Conference with                                                              0.4

12/07/18         MBV        Draft motion for fees; confer with client on motion; attempt to              1.6
                            confer with opposing counsel
12/09/18         EMP        Work on finalizing billing numbers for attorneys' fees motion                0.5
12/10/18         RJB        Finalize motion for exceptional case and materials in support of             1.0
                            same; confer with opposing counsel re same
12/10/18         NJM        Finalize motion for attorneys' fees                                          0.9


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  Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 35 of 40 PageID #: 582


Payoneer, Inc.                                                           Invoice Date:              01/22/2019
                                                                      Invoice Number:                 1801132
                                                                       Client Number:                    46610
                                                                       Matter Number:                 0001LL1



Date             Initials   Description                                                                 Hours
12/10/18         JDA        Review and revise fees motion and declaration; draft motion and                1.6
                            order; meet and confer with opposing counsel; review
                            correspondence with clients
12/10/18         EMP        Finalize motion for exceptional case exhibits and forward to case              1.0
                            team for review
12/10/18         MBV        Draft motion for fees; draft declaration in support of motion; send            1.0
                            draft motion to client for review; prepare motion and declaration for
                            filing; confer with Plaintiff on motion
12/11/18         NJM        Conference with Finnavations re its request for extension of time for          0.3
                            it to respond to Payoneer's motion for attorneys' fees
12/11/18         JDA        Review correspondence re fees motion and settlement                            0.2
12/11/18         MBV        Check with client                                                              0.2

12/12/18         EMP        Review case file, document database and client extranet site for               0.1
                            accuracy and update as required
12/13/18         NJM        Conference with Finnavations                                                   1.3


12/13/18         JDA        Review settlement offer                                                        0.2
12/13/18         MBV        Inform client                                                                  0.2
12/17/18         NJM        Review Finnavations' proposed motion for extension of time for it              0.3
                            to respond to Payoneer's motion for attorneys' fees
12/17/18         EMP        Finish review of motion for exceptional case and update database re            0.1
                            same
12/17/18         JDA        Review motion for extension to respond to fees motion and confer               0.3
                            with opposing counsel re same
12/27/18         MBV        Speak with                                                                     0.5
12/27/18         JDA        Review stipulation to extend time to respond to fees' motion and               0.2
                            confer with opposing counsel re same
12/29/18         EMP        Review stipulation to response/reply to motion for exceptional case            0.2
                            and update database and client extranet re same

                             Total:                                                                       38.4




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Payoneer, Inc.                                                              Invoice Date:           01/22/2019
                                                                         Invoice Number:              1801132
                                                                          Client Number:                 46610
                                                                          Matter Number:              0001LL1



Timekeeper Summary

Initials    Name                                                       Hours         Rate ($)       Amount ($)
NJM         Neil J. McNabnay                                               6.3        895.00          5,638.50
JDA         Jeremy Anderson                                                3.0        815.00          2,445.00
RJB         Ricardo Bonilla                                                5.2        730.00          3,796.00
MBV         Michael Vincent                                               20.1        435.00          8,743.50
EMP         Elizabeth Poppell                                              3.4        245.00            833.00
PCA         Chloe Abuzeni                                                  0.4        285.00            114.00
                                 Total:                                   38.4                       21,570.00



Disbursements

Description                                                                                         Amount ($)
Search and retrieval of court documents (dockets & pleadings)                                            30.00
Delivery services/messengers transmitting courtesy copies to court - Parcels, Inc.                        8.50
                                 Total:                                                                  38.50


                                 Professional Services For This Matter                          $    21,570.00

                                 Total Disbursements For This Matter                                     38.50

                                 Total Due On Matter 46610.0001LL1                              $    21,608.50




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Payoneer, Inc.                                                                    Invoice Date:           01/22/2019
Bart H. Rubin                                                                  Invoice Number:              1801132
150 West 30th Street, Suite 600                                                 Client Number:                 46610
New York, NY 10001



For professional services and disbursements through December 31, 2018:




                             BALANCE DUE THIS INVOICE (payable in USD$) $ 21,608.50




Direct questions about this invoice to your Collections Account Services Team at cas-team@fr.com or 617-542-
5070.




SCK
  The receipt of payment from a third-party payor on behalf of the firm's client (whether by agreement of indemnification,
       insurance coverage or otherwise) does not establish an attorney-client relationship with that third-party payor.



 Remittance Information              Checks                          Wire Transfers                  ACH Transfers

 Federal ID No. XX-XXXXXXX           Standard delivery               Bank of America                 Bank of America
                                     Fish & Richardson P.C.          100 Federal Street              100 Federal Street
 Telephone 612-335-5070              P.O. Box 3295                   Boston, MA 02110                Boston, MA 02110
 Fax 612-288-9696                    Boston, MA 02241-3295           Account No. 511-43170           Account No. 511-43170
NOTE:                                Overnight delivery              ABA No. 026009593               ABA No. 011000138
                                     3200 RBC Plaza                  Swift Code: BOFAUS3N
                                     60 South Sixth Street
                                     Minneapolis, MN 55402
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&ŝƐŚΘZŝĐŚĂƌĚƐŽŶW͘͘
ϰϲϲϭϬͲWĂǇŽŶĞĞƌ͕/ŶĐ͘
hŶďŝůůĞĚƐƚŝŵĂƚĞďǇDĂƚƚĞƌ
WƌĞƉĂƌĞĚŽŶϭͬϯϬͬϮϬϭϵ
WůĞĂƐĞŶŽƚĞƚŚĂƚƵŶďŝůůĞĚĨŝŐƵƌĞƐŽŶůǇƌĞĨůĞĐƚƚŝŵĞĂŶĚĐŽƐƚƐĞŶƚĞƌĞĚĂŶĚĂƌĞƉƌŝŽƌƚŽĂƚƚŽƌŶĞǇƌĞǀŝĞǁ͘


ZĞǀŝƐĞĚDĂƚƚĞƌ/         ZĞǀŝƐĞĚDĂƚƚĞƌEĂŵĞ                   :ĂŶƵĂƌǇƐƚŝŵĂƚĞ
ϰϲϲϭϬ͘ϬϬϬϭ>>ϭ             &ŝŶŶĂǀĂƚŝŽŶƐǀ͘WĂǇŽŶĞĞƌ
'ƌĂŶĚdŽƚĂů




WĂǇŽŶĞĞƌ͕/ŶĐ͘hŶďŝůůĞĚ&ĞĞƐĂŶĚŽƐƚƐǁŽƌŬĞĚϭ͘ϭ͘ϭϵͲϭ͘ϯϭ͘ϭϵ;ϭ͘ϯϬ͘ϭϵͿ͘ǆůƐǆ͕DĂƚƚĞƌƐƚŝŵĂƚĞ>ŝǀĞ͕ϭͬϯϬͬϮϬϭϵ   WĂŐĞϭ
                               Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 39 of 40 PageID #: 586
&ŝƐŚΘZŝĐŚĂƌĚƐŽŶW͘͘
ϰϲϲϭϬͲWĂǇŽŶĞĞƌ͕/ŶĐ͘
hŶďŝůůĞĚ,ŽƵƌƐĂŶĚ&ĞĞƐďǇDĂƚƚĞƌďǇdŝŵĞŬĞĞƉĞƌͲǁŽƌŬĞĚϭͬϭͬϮϬϭϵͲϭͬϯϭͬϮϬϭϵ
WƌĞƉĂƌĞĚŽŶϭͬϯϬͬϮϬϭϵ
WůĞĂƐĞŶŽƚĞƚŚĂƚƵŶďŝůůĞĚĨŝŐƵƌĞƐŽŶůǇƌĞĨůĞĐƚƚŝŵĞĂŶĚĐŽƐƚƐĞŶƚĞƌĞĚĂŶĚĂƌĞƉƌŝŽƌƚŽĂƚƚŽƌŶĞǇƌĞǀŝĞǁ͘

                                                                              ƵƌƌĞŶƚDŽŶƚŚ       dŽƚĂů,ŽƵƌƐ dŽƚĂů&ĞĞƐ
ůŝĞŶƚ        DĂƚƚĞƌ                  dŬƌ/     dŬƌEĂŵĞ                    ,ŽƵƌƐ       &ĞĞƐ
ϰϲϲϭϬ         ϰϲϲϭϬ͘ϬϬϬϭ>>ϭ           ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů                 ϭϵ͘Ϯ   ϵ͕ϲϵϲ͘ϬϬ        ϭϵ͘Ϯ   ϵ͕ϲϵϲ͘ϬϬ
                                      ϬϮϵϱϳ      ŽŶŝůůĂ͕ZŝĐĂƌĚŽ                  Ϯ͘ϱ   ϭ͕ϵϱϬ͘ϬϬ         Ϯ͘ϱ   ϭ͕ϵϱϬ͘ϬϬ
                                      ϬϯϯϭϬ      ŶĚĞƌƐŽŶ͕:ĞƌĞŵǇ                  ϭ͘ϲ   ϭ͕ϯϲϬ͘ϬϬ         ϭ͘ϲ   ϭ͕ϯϲϬ͘ϬϬ
                                      ϬϬϬϭϮ      DĐEĂďŶĂǇ͕EĞŝů:͘                 ϭ͘ϰ   ϭ͕Ϯϱϯ͘ϬϬ         ϭ͘ϰ   ϭ͕Ϯϱϯ͘ϬϬ
                                      ϳϭϮϭϲ      ŽŶƌĂĚ͕ĂǀŝĚ͘                  ϭ͘ϭ     ϵϲϮ͘ϱϬ         ϭ͘ϭ     ϵϲϮ͘ϱϬ
                                      Ϭϯϰϭϰ      WŽƉƉĞůů͕ůŝǌĂďĞƚŚ                Ϭ͘ϰ     ϭϬϬ͘ϬϬ         Ϭ͘ϰ     ϭϬϬ͘ϬϬ
              ϰϲϲϭϬ͘ϬϬϬϭ>>ϭdŽƚĂů                                                 Ϯϲ͘Ϯ ϭϱ͕ϯϮϭ͘ϱϬ         Ϯϲ͘Ϯ ϭϱ͕ϯϮϭ͘ϱϬ
'ƌĂŶĚdŽƚĂů                                                                       Ϯϲ͘Ϯ ϭϱ͕ϯϮϭ͘ϱϬ         Ϯϲ͘Ϯ ϭϱ͕ϯϮϭ͘ϱϬ




WĂǇŽŶĞĞƌ͕/ŶĐ͘hŶďŝůůĞĚ&ĞĞƐĂŶĚŽƐƚƐǁŽƌŬĞĚϭ͘ϭ͘ϭϵͲϭ͘ϯϭ͘ϭϵ;ϭ͘ϯϬ͘ϭϵͿ͘ǆůƐǆ͕hŶďŝůůĞĚďǇdŝŵĞŬĞĞƉĞƌďǇDƚƌ͕ϭͬϯϬͬϮϬϭϵ    WĂŐĞϭ
                                            Case 1:18-cv-00444-RGA Document 33-2 Filed 01/30/19 Page 40 of 40 PageID #: 587
&ŝƐŚΘZŝĐŚĂƌĚƐŽŶW͘͘
ϰϲϲϭϬͲWĂǇŽŶĞĞƌ͕/ŶĐ͘
hŶďŝůůĞĚ&ĞĞƐĂŶĚŽƐƚƐĞƚĂŝůͲǁŽƌŬĞĚϭͬϭͬϮϬϭϵͲϭͬϯϭͬϮϬϭϵ
WƌĞƉĂƌĞĚŽŶϭͬϯϬͬϮϬϭϵ
WůĞĂƐĞŶŽƚĞƚŚĂƚƵŶďŝůůĞĚĨŝŐƵƌĞƐŽŶůǇƌĞĨůĞĐƚƚŝŵĞĂŶĚĐŽƐƚƐĞŶƚĞƌĞĚĂŶĚĂƌĞƉƌŝŽƌƚŽĂƚƚŽƌŶĞǇƌĞǀŝĞǁ͘

                                                                                                                                                                                                                    ƵƌƌĞŶƚDŽŶƚŚ
ůŝĞŶƚ        DĂƚƚĞƌ                  DĂƚƚĞƌEĂŵĞ                     tŽƌŬĂƚĞ       dŬƌ/     dŬƌEĂŵĞ             EĂƌƌĂƚŝǀĞ                                                              ŝůůĂďůĞ,ƌƐ         &ĞĞƐ         dŽƚĂů
ϰϲϲϭϬ         ϰϲϲϭϬ͘ϬϬϬϭ>>ϭ           &ŝŶŶĂǀĂƚŝŽŶƐǀ͘WĂǇŽŶĞĞƌ        ϭͬϮͬϮϬϭϵ        Ϭϯϰϭϰ      WŽƉƉĞůů͕ůŝǌĂďĞƚŚ   ZĞǀŝĞǁŽƌĚĞƌŐƌĂŶƚŝŶŐĞǆƚĞŶƐŝŽŶƚŽƌĞƐƉŽŶĚĂŶĚƌĞƉůǇƚŽŵŽƚŝŽŶ                       Ϭ͘ϭ      Ϯϱ͘ϬϬ        Ϯϱ͘ϬϬ
                                                                                                                      ĨŽƌĞǆĐĞƉƚŝŽŶĂůĐĂƐĞĂŶĚƵƉĚĂƚĞĚĂƚĂďĂƐĞĂŶĚĐůŝĞŶƚĞǆƚƌĂŶĞƚƌĞ
                                                                                                                      ƐĂŵĞ
                                                                      ϭͬϯͬϮϬϭϵ        Ϭϯϰϭϰ      WŽƉƉĞůů͕ůŝǌĂďĞƚŚ   &ŝŶŝƐŚƌĞǀŝĞǁŽĨŽƌĚĞƌŐƌĂŶƚŝŶŐĞǆƚĞŶƐŝŽŶƐĨŽƌƌĞƐƉŽŶƐĞĂŶĚƌĞƉůǇ                    Ϭ͘ϭ      Ϯϱ͘ϬϬ        Ϯϱ͘ϬϬ
                                                                                                                      ƚŽŵŽƚŝŽŶƚŽĚŝƐŵŝƐƐĂŶĚƵƉĚĂƚĞĚĂƚĂďĂƐĞƌĞƐĂŵĞ

                                                                      ϭͬϭϱͬϮϬϭϵ       Ϭϯϰϭϰ      WŽƉƉĞůů͕ůŝǌĂďĞƚŚ   ZĞǀŝĞǁŵŽƚŝŽŶĂŶĚŽƌĚĞƌŐƌĂŶƚŝŶŐƉƌŽŚĂĐǀŝĐĞĨŽƌ͘ĞŶŶĞƚƚĂŶĚ                     Ϭ͘ϭ      Ϯϱ͘ϬϬ        Ϯϱ͘ϬϬ
                                                                                                                      ƵƉĚĂƚĞĚĂƚĂďĂƐĞĂŶĚĐůŝĞŶƚĞǆƚƌĂŶĞƚƌĞƐĂŵĞ
                                                                      ϭͬϭϲͬϮϬϭϵ       ϬϯϯϭϬ      ŶĚĞƌƐŽŶ͕:ĞƌĞŵǇ     ZĞǀŝĞǁĂŶĚĂŶĂůǇǌĞĂŶƐǁĞƌŝŶŐďƌŝĞĨŝŶŽƉƉŽƐŝƚŝŽŶƚŽŵŽƚŝŽŶĨŽƌ                       ϭ͘ϲ    ϭ͕ϯϲϬ͘ϬϬ    ϭ͕ϯϲϬ͘ϬϬ
                                                                                                                      ĞǆĐĞƉƚŝŽŶĂůĐĂƐĞĂŶĚƐƵƉƉŽƌƚŝŶŐƉĂƉĞƌƐ
                                                                                      ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚƌĞƉůǇďƌŝĞĨ                                                                     ϭ͘ϳ     ϴϱϴ͘ϱϬ       ϴϱϴ͘ϱϬ
                                                                                      ϬϬϬϭϮ      DĐEĂďŶĂǇ͕EĞŝů:͘    ZĞǀŝĞǁ&ŝŶŶĂǀĂƚŝŽŶƐΖƌĞƐƉŽŶƐĞƚŽWĂǇŽŶĞĞƌΖƐŵŽƚŝŽŶĨŽƌĂƚƚŽƌŶĞǇƐΖ                    Ϭ͘ϲ     ϱϯϳ͘ϬϬ       ϱϯϳ͘ϬϬ
                                                                                                                      ĨĞĞƐ
                                                                                      ϬϮϵϱϳ      ŽŶŝůůĂ͕ZŝĐĂƌĚŽ     ŶĂůǇǌĞĂŶĚĂŶŶŽƚĂƚĞƉůĂŝŶƚŝĨĨΖƐŽƉƉŽƐŝƚŝŽŶƚŽŵŽƚŝŽŶĨŽƌ                            Ϭ͘ϱ     ϯϵϬ͘ϬϬ       ϯϵϬ͘ϬϬ
                                                                                                                      ĞǆĐĞƉƚŝŽŶĂůĐĂƐĞ
                                                                      ϭͬϭϳͬϮϬϭϵ       ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚZĞƉůǇďƌŝĞĨ͖ƐĞŶĚŽƉƉŽƐŝƚŝŽŶďƌŝĞĨ                                             ϭ͘ϴ     ϵϬϵ͘ϬϬ       ϵϬϵ͘ϬϬ
                                                                                      ϳϭϮϭϲ      ŽŶƌĂĚ͕ĂǀŝĚ͘     ƌĞǀŝĞǁĂŶĚĐŽŵŵĞŶƚŽŶƐƚƌĂƚĞŐǇ                                                      Ϭ͘ϴ     ϳϬϬ͘ϬϬ       ϳϬϬ͘ϬϬ


                                                                                      ϬϮϵϱϳ      ŽŶŝůůĂ͕ZŝĐĂƌĚŽ     tŽƌŬŽŶŽƵƚůŝŶĞŽĨƌĞƉůǇďƌŝĞĨŝŶƐƵƉƉŽƌƚŽĨŵŽƚŝŽŶĨŽƌĞǆĐĞƉƚŝŽŶĂů                  Ϭ͘ϱ     ϯϵϬ͘ϬϬ       ϯϵϬ͘ϬϬ
                                                                                                                      ĐĂƐĞ
                                                                                      Ϭϯϰϭϰ      WŽƉƉĞůů͕ůŝǌĂďĞƚŚ   ZĞǀŝĞǁĐĂƐĞĨŝůĞ͕ĚŽĐƵŵĞŶƚĚĂƚĂďĂƐĞĂŶĚĐůŝĞŶƚĞǆƚƌĂŶĞƚƐŝƚĞĨŽƌ                     Ϭ͘ϭ      Ϯϱ͘ϬϬ        Ϯϱ͘ϬϬ
                                                                                                                      ĂĐĐƵƌĂĐǇĂŶĚƵƉĚĂƚĞĂƐƌĞƋƵŝƌĞĚ
                                                                      ϭͬϮϭͬϮϬϭϵ       ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚƌĞƉůǇďƌŝĞĨ                                                                     ϯ͘Ϯ    ϭ͕ϲϭϲ͘ϬϬ    ϭ͕ϲϭϲ͘ϬϬ
                                                                      ϭͬϮϮͬϮϬϭϵ       ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚƌĞƉůǇďƌŝĞĨ                                                                     ϰ͘ϱ    Ϯ͕ϮϳϮ͘ϱϬ    Ϯ͕ϮϳϮ͘ϱϬ
                                                                      ϭͬϮϯͬϮϬϭϵ       ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚƌĞƉůǇďƌŝĞĨ                                                                     ϲ͘ϱ    ϯ͕ϮϴϮ͘ϱϬ    ϯ͕ϮϴϮ͘ϱϬ
                                                                                      ϬϬϬϭϮ      DĐEĂďŶĂǇ͕EĞŝů:͘    ƌĂĨƚWĂǇŽŶĞĞƌΖƐŵŽƚŝŽŶĨŽƌĂƚƚŽƌŶĞǇƐΖĨĞĞƐƌĞƉůǇďƌŝĞĨ                               Ϭ͘ϴ      ϳϭϲ͘ϬϬ      ϳϭϲ͘ϬϬ
                                                                      ϭͬϮϱͬϮϬϭϵ       ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚƌĞƉůǇďƌŝĞĨ                                                                     Ϭ͘ϱ      ϮϱϮ͘ϱϬ      ϮϱϮ͘ϱϬ
                                                                      ϭͬϮϲͬϮϬϭϵ       ϬϮϵϱϳ      ŽŶŝůůĂ͕ZŝĐĂƌĚŽ     tŽƌŬŽŶĚƌĂĨƚŽĨƌĞƉůǇŝŶƐƵƉƉŽƌƚŽĨŵŽƚŝŽŶĨŽƌĞǆĐĞƉƚŝŽŶĂůĐĂƐĞ                      Ϭ͘ϳ      ϱϰϲ͘ϬϬ      ϱϰϲ͘ϬϬ

                                                                      ϭͬϮϴͬϮϬϭϵ       ϳϭϮϭϲ      ŽŶƌĂĚ͕ĂǀŝĚ͘     ĚŝƚĚƌĂĨƚƌĞƉůǇďƌŝĞĨŝŶƐƵƉƉŽƌƚŽĨŵŽƚŝŽŶĨŽƌĨĞĞƐ                                  Ϭ͘ϯ     ϮϲϮ͘ϱϬ       ϮϲϮ͘ϱϬ
                                                                      ϭͬϮϵͬϮϬϭϵ       ϬϮϵϱϳ      ŽŶŝůůĂ͕ZŝĐĂƌĚŽ     tŽƌŬŽŶĨŝŶĂůŝǌŝŶŐĚƌĂĨƚŽĨƌĞƉůǇŝŶƐƵƉƉŽƌƚŽĨŵŽƚŝŽŶĨŽƌ                           Ϭ͘ϴ     ϲϮϰ͘ϬϬ       ϲϮϰ͘ϬϬ
                                                                                                                      ĞǆĐĞƉƚŝŽŶĂůĐĂƐĞ                                                 

                                                                                      ϬϰϮϱϰ      sŝŶĐĞŶƚ͕DŝĐŚĂĞů     ƌĂĨƚƌĞƉůǇďƌŝĞĨŝŶƐƵƉƉŽƌƚŽĨŵŽƚŝŽŶĨŽƌĞǆĐĞƉƚŝŽŶĂůĐĂƐĞ                           ϭ͘Ϭ      ϱϬϱ͘ϬϬ      ϱϬϱ͘ϬϬ
              ϰϲϲϭϬ͘ϬϬϬϭ>>ϭdŽƚĂů                                                                                                                                                                                 ϭϱ͕ϯϮϭ͘ϱϬ   ϭϱ͕ϯϮϭ͘ϱϬ
ϰϲϲϭϬdŽƚĂů                                                                                                                                                                                                       ϭϱ͕ϯϮϭ͘ϱϬ   ϭϱ͕ϯϮϭ͘ϱϬ
'ƌĂŶĚdŽƚĂů                                                                                                                                                                                                       ϭϱ͕ϯϮϭ͘ϱϬ   ϭϱ͕ϯϮϭ͘ϱϬ




WĂǇŽŶĞĞƌ͕/ŶĐ͘hŶďŝůůĞĚ&ĞĞƐĂŶĚŽƐƚƐǁŽƌŬĞĚϭ͘ϭ͘ϭϵͲϭ͘ϯϭ͘ϭϵ;ϭ͘ϯϬ͘ϭϵͿ͘ǆůƐǆ͕hŶďŝůůĞĚĞƚĂŝů͕ϭͬϯϬͬϮϬϭϵ                                                                                                                          WĂŐĞϭ
